Case 4:23-cv-00095-AWA-RJK Document 1-5 Filed 07/14/23 Page 1 of 1 PagelD# 19,3; 9:12 am

Re: Prior emails

mps smith <mps1561@hotmail.com>

Wed 2/19/2020 7:31 PM

To: Martin Wilcox <martin.wilcox@na-atlas.com>

Is that enough...my name on the in house patent even without any sort of written agreement?

From: Martin Wilcox <martin.wilcox@ na-atlas.com>
Sent: Wednesday, February 5, 2020 3:38 PM

To: mps smith

Subject: RE: Prior emails

Melinda,

This e-mail address was shut off for a while recently when the IT people rebuilt our server system,
I'm sorry if | missed your most recent...

We have not heard anything from the T-K patent people about our application and as far as | know
it has not even been published by the Patent Office . We were told that it was running beyond two
years before the review process starts. All | can tell you now is that | put both our names on the
original in-house application, and it went into the T-K patent process and they did the actual
Sapenwork end ihe formal auplication to the USPTO. I’m now out of the loop and working on other
projects, as they don’t want to do anything with the MOB project until a patent is issued. If the

patent is not granted, they won’t go forward, and until we hear from the Patent Office we can only
wait and hope.

Marty

From: mps smith <mps1561 @hotmail.com>
Sent: Wednesday, February 05, 2020 2:39 PM
To: Martin Wilcox <martin.wilcox@na-atlas.com>
Subject: Prior emails

Dear Marty,

| hope all is well. | know you are extremely busy but | need your advice. | hope this email address
is still good for you. | am hoping you received my email dated January 20, 2020 and my prior email
dated August 14, 2019. | have not gotten a response and hope you are able to help me. This is
very important to me and | need to know that | am well protected. | have faith in you but now that
the big company is involved | need more than a verbal agreement.
Thank you in advance for your help. Melinda

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